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 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) CASE NO. 1:07-MJ-00062 DLB
                                             )
12                                           )
                         Plaintiff,          ) MOTION TO UNSEAL COMPLAINT;
13                                           ) ORDER
                    v.                       )
14                                           )
     ARON JOHNSTON, et al.,                  )
15                                           )
                         Defendants.         )
16                                           )
17            The Complaint in this case, having been sealed by Order of
18   this Court, and it appears that it no longer need remain secret.
19            The United States of America, by and through McGregor W.
20   Scott, United States Attorney, and Kathleen A. Servatius, Assistant
21   United States Attorney, hereby moves that the Complaint in this
22   case be unsealed and made public record.
23   Dated: March 29, 2007                    /s/ Kathleen A. Servatius
                                            KATHLEEN A. SERVATIUS
24                                          Assistant U. S. Attorney
25
26   IT IS SO ORDERED.
27   Dated:     March 29, 2007                  /s/ Sandra M. Snyder
     icido3                              UNITED STATES MAGISTRATE JUDGE
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